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                            UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                    MONROE DIVISION

UNITED STATES OF AMERICA                                CRIMINAL NO. 05-30037-01

VERSUS                                                  JUDGE JAMES

JAMES ROBERT GUILLOT                                    MAGISTRATE JUDGE HAYES

                              MINUTES OF GUILTY PLEA

Tuesday, April 11, 2006      Court opened: 10:00 a.m.   Court adjourned: 10:25 a.m.
Time in Court: 25 minutes

PRESENT:      KAREN L. HAYES               Magistrate Judge
              FTR                          Court Reporter
              Amy Crawford                 Courtroom Deputy
              Jay Garner                   Probation Officer
              Robert Gillespie             Representing Government
              Robert S. Noel               Representing Defendant

CASE CALLED FOR: Change of Plea

PROCEEDINGS:
    Plea of Guilty to count 1
    Defendant under oath
    Defendant advised of Rule 11 rights
    Testimony from witness listed on attached witness list.
    Plea of guilty accepted and recommendation of judgment issued.
    Pre-sentence investigation report ordered.

EXHIBITS:
     Rule 11 Plea Package
            Plea Agreement
            Affidavit of Understanding of Maximum Penalty and Constitutional Rights
           Elements of Offense

COMMENTS:
        Sentencing set for July 5, 2006 at 1:30 p.m. before Judge James.
